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8                                 UNITED STATES DISTRICT COURT
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             NORTHER DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
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11   JAMES CUNHA, an individual, on behalf           Case No.: 17-CV-00597-JST
     of himself and all others similarly situated,   CLASS ACTION
12
                    Plaintiffs,                       [PROPOSED] ORDER APPROVING
13
                                                      SUBSTITUTION OF ATTORNEY
14                  vs.                              [N.D. Local Civ. Rules 5-1 (c)(2)(e) and 11-5]
                                                      Judge: Hon. Jon S. Tigar
15   INTELLICHECK, LLC, a California                  Place: Courtroom 9
     Limited Liability Company; CHICO
16   PRODUCE, INC., d/b/a PROPACIFIC                 Complaint Filed: December 20, 2016
     FRESH, INC., a California Corporation; and      SAC Filed:       June 26, 2017
17
     DOES 1 through 100, inclusive,
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     Defendants
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                                                      Trial Date:       None Set
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     PROPOSED ORDER RE SUBSTITUTION OF                                   Case No. 17-CV-00597-JST
     ATTORNEY
      Case 4:17-cv-00597-JST Document 148 Filed 09/11/18 Page 2 of 2




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2           Plaintiff’s request to substitute David H. Yeremian, California State Bar No. 226337, as

3    counsel of record in place of Patrick N. Keegan of Keegan & Baker LLP (California State Bar

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     No. 167698), and Walter L. Haines of United Employees Law Group (California State Bar No.
     71075) is hereby approved and so ORDERED.
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             September 11, 2018
     Dated: _____________                        ________________________________
7                                                Hon. Jon S. Tigar
                                                 United States District Court Judge
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     PROPOSED ORDER RE SUBSTITUTION OF                                  Case No. 17-CV-00597-JST
     ATTORNEY
